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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS
(Kansas City, Kansas, Docket)

UNITED STATES OF AMERICA,
Plaintiff,
QOld>
VS. Case No. 12-266 -01-05- CM~ TPO
MUNIR AHMAD CHAUDARY,

RHONDA R. BRIDGE,
RHONDA & SON’S INC.,
MAC & SONS LLC, and
SYED NAQVY,

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Defendants.

SEALED INDICTMENT
The Grand Jury charges:

GENERAL ALLEGATIONS

 

1. Defendants Munir Ahman Chaudary and Rhonda R. Bridge, husband and wife,
own and operate a Clarion Hotel (Clarion) at 7000 W. 108" St., Overland Park, Kansas, and
a Clarion Hotel (Radisson) at 11828 NW Plaza Circle, Kansas City, Missouri.

2. Title in the Overland Park, Kan., Clarion is held by Rhonda & Son’s Inc., a Kansas
close corporation of which defendant Chaudary is president and a director and defendant
Bridge is secretary and a director. Ownership of the Overland Park, Kan., Clarion property
was transferred to Rhonda & Son’s Inc. on about May 30, 2008.

3. Title in the Kansas City, Mo., Clarion is held by Mac & Sons LLC, a Missouri

company owned by defendant Chaudary. Ownership of the Kansas City, Mo., Clarion
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property was transferred to Mac & Sons LLC on about April 13, 2006.

4, Defendants Chaudary and Bridge reside at the Overland Park, Kan., Clarion in two
rooms on the 2™ floor of the hotel above the reception area.

5. In about December 2011, investigators from the U.S. Department of Homeland
Security (DHS) and the Kansas Department of Revenue (KDOR) received information that
the owners of the two Clarion hotels (which also have been operated during the times
relevant to this Indictment as Wyndham Garden Hotel [Overland Park] and Radisson Hotel)
employed several foreign nationals who were not lawfully present in the United States, nor
were they authorized to be employed in the United States.

6. The investigators subsequently interviewed several employees of the hotels and
confirmed that about half the employees were (1) paid in cash or non-payroll check, usually
by defendant Chaudary but sometimes by defendant Bridge; (2) not lawfully present in the
U.S.; and (3) were not authorized to be employed in the U.S..

7. In about June 2012, an undercover agent sought and obtained employment at the
Overland Park, Kan., Clarion, where the agent worked primarily in housekeeping. The agent
made it clear to defendants Chaudary and Bridge when he was hired that he was unlawfully
present in the United States, was not authorized to work in the United States, and had no
documents to use for employment.

8. While working undercover, the agent obtained, among other things, information
about the identities and immigration status of employees working at both hotels. The agent
also identified a Pakistani national, defendant Naqvy, who lived in a room provided by

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defendants Chaudary and Bridge as partial compensation for his employment at the Clarion.
Defendant Naqvy was found to be a person unlawfully present in the United States subject
to an order and unexecuted warrant of removal/deportation.

9. The undercover agent obtained evidence that defendants Chaudary, Bridge,
Rhonda & Son’s Inc. and Mac & Sons LLC paid employees whom they believed were
lawfully present in the United States in general compliance with federal and state
withholding and reporting requirements, while employees they believed were not lawfully
present were paid a lower hourly rate in which withholding and reporting requirements were
avoided.

10. When the undercover agent inquired of defendant Chaudary about differences in
the hotel employees’ rates of pay, Chaudary told him that nothing was being withheld from
wages to employees who were illegal, like the agent, so they were paid less, whereas monies
were withheld from wages to “legal” employees.

11. A review of bank accounts maintained in Kansas by defendants Chaudary and
Bridge for their hotels showed that wages paid to employees of both hotels starting in 2008
were paid out of those accounts.

COUNT 1
8 U.S.C. § 1324(a)(1)(A)(iv) and (v)(1)
(Conspiracy to Encourage Aliens to Reside in the United States
for Commercial Advantage and Private Financial Gain
Knowing or in Reckless Disregard of their Unlawful Status)
12. Paragraphs 1-11 are incorporated by reference.

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13. Between about June 2008 and about August 2012, within the District of Kansas

and elsewhere, defendants
MUNIR AHMAD CHALUDARY,
RHONDA R. BRIDGE,
RHONDA & SON’S INC.,
and
MAC & SONS LLC,
and others both known and unknown to the grand jury, engaged in a conspiracy, for the
purpose of commercial advantage and private financial gain, to induce and encourage aliens
to reside in the United States, knowing and in reckless disregard of the fact that such
residence is in violation of law, in violation of Title 8, United States Code, Sections
1324(a)(1)(A)(iv) and (v)(1).
PURPOSE AND OBJECT OF THE CONSPIRACY

14. The purpose and object of the conspiracy, and its manner and means, included as
follows:

a. The purpose and object of the conspiracy was to make money and create wealth
for defendants Chaudary and Bridge.

b. By entering into an agreement to employ persons not lawfully present in the U.S.,
defendants Chaudary, Bridge, Rhonda & Son’s Inc. and Mac & Sons LLC, lowered their
operating costs because the wages they paid to those workers was lower, they did not have
to pay the employer’s share of Social Security payments, they did not have to pay for
workers compensation or unemployment insurance or other benefits paid to lawfully

employed workers in the hotel industry, all of which resulted in a potential to increase their

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profits and an increase in their profits.

c. By entering into an agreement to employ persons not lawfully present in the U.S.,
resulting in a potential to lower operating costs and lower operating costs, defendants
Chaudary, Bridge, Rhonda & Son’s Inc. and Mac & Sons LLC placed themselves at a
competitive advantage to their competitors who did not employee persons unlawfully
present, allowing the defendants to charge lower room rates and to operate at higher
occupancy rates, the result also being an increase in profits.

d. By entering into an agreement to be employed, though not lawfully present in the
United States, those co-conspirators so employed obtained money so they could maintain
their unlawful presence and Jive in the United States, and they increased, over time, the
likelihood they could obtain the lawful permanent resident status they desired.

OVERT ACTS IN FURTHERANCE OF THE CONSPIRACY

15. In furtherance of the conspiracy, and to effect the objects thereof, one or more of
the co-conspirators committed and caused to be committed at least one of the following acts,
among others, within the District of Kansas and elsewhere:

a. Starting in about 2008, and continuing to about September 2012, aliens not
lawfully present in the United States nor authorized to work in the United States were
employed to work at the hotels even though one or more of the co-conspirators knew or
recklessly disregarded the fact the aliens were unlawfully in the U.S..

b. Starting in about 2008, and continuing to about September 2012, aliens not
lawfully present in the United States nor authorized to work in the United States were paid

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in cash or by non-payroll checks.

c. Starting in about 2008, and continuing to about September 2012, co-conspirators
paid aliens by payroll check knowing and in reckless disregard of the fact that those aliens
had provided false documents to defendants Chaudary and Bridge to make it appear that the
aliens were lawfully present and authorized to be employed.

d. In about September 2011, defendant Chaudary told one of the employees to tell
him which of the Overland Park, Kan., Clarion Hotel housekeepers were illegally in the
United States; the employee told defendant Chaudary all of the housekeepers were illegally
in the United States.

e. In about June 2012, defendants Chaudary and Bridge hired a person who
represented himself to be unlawfully present, having no authority to work nor any documents
that would make it appear he was authorized to work.

f. Beginning in about 2008, co-conspirators Chaudary, Bridge, Rhonda & Son’s Inc.
and Mac & Sons LLC maintained bank accounts they used to make payments to employees
they knew and recklessly disregarded were unlawfully present in the United States.

g. In 2011, defendant Chaudary picked up defendant Naqvy at Kansas City
International Airport, Kansas City, Mo., knowing Naqvy was unlawfully present in the
United States. Chaudary provided a room to Naqvy at the Overland Park, Kan., Clarion and
paid him $1,000 per month in exchange for Naqvy’s work as a front desk clerk.

h. In 2011 and 2012, co-conspirators Chaudary, Bridge, Rhonda & Son’s Inc. and
Mac & Sons LLC filed, via the Internet, false and fraudulent Quarterly Wage Reports and

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Unemployment Tax Returns with the Kansas Department of Labor in which they
undereported the number of employees working at the Overland Park, Kan., hotel, the
amount of total wages paid, and the amount of unemployment taxes due.

i. In 2011 and 2012, co-conspirators Chaudary, Bridge, Rhonda & Son’s Inc. and
Mac & Sons LLC filed, via the Internet, false and fraudulent Quarterly Contribution and
Wage Report with the Missouri Division of Employment Security in which they knowingly
provided false and fraudulent information related to individual employees.

COUNTS 2-5
8 U.S.C. § 1324(a)(1)(A)(iv) and (v)dD
(Encouraging or Inducing Aliens to Reside in the United States
for Commercial Advantage and Private Financial Gain
Knowing or in Reckless Disregard of their Unlawful Status)
16. Paragraphs 1-15 are incorporated by reference.
17. In about June 2012, within the District of Kansas and elsewhere, defendants
MUNIR AHMAD CHAUDARY,
RHONDA R. BRIDGE,
RHONDA & SON’S INC.,
and
MAC & SONS LLC,

intentionally encouraged an alien, for the purpose of commercial advantage and private

financial gain, to reside in the United States, knowing and in reckless disregard of the fact

that such residence is in violation of law, as follows:

 

 

 

 

COUNT 2 Alien’s initials: MB

 
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COUNT 3 Alien’s initials: JV
COUNT 4 Alien’s initials: JH
COUNT 5 Alien’s initials: RA

 

All in violation of Title 8, United States Code, Section 1324(a)(1)(A)(iv) and (v)(II).
COUNT 6
8 U.S.C. § 1324(a)(1)(A)(iii) and (v)(ID
(Harboring an Alien
Who is Unlawfully in the United States
For Commercial Advantage or Private Financial Gain)
18. Paragraphs 1-17 are incorporated by reference.
19. In about June 2012, within the District of Kansas and elsewhere, defendants
MUNIR AHMAD CHAUDARY,
RHONDA R. BRIDGE,
RHONDA & SON’S INC.,
and
MAC & SONS LLC,
knowing and in reckless disregard of the fact that an alien, Syed Naqvy, came to and
remained in the United States in violation of law, harbored such alien at the Clarion Hotel,
7000 W. 108" St., Overland Park, Kansas, in violation of Title 8, United States Code, Section
1324(a)(1 (A) (GD.
COUNTS 7-10
18 U.S.C. §§ 1343 and 2
(Wire Fraud)

20. Paragraphs 1-19 are incorporated by reference.

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21. On or about the dates listed below, within the District of Kansas and elsewhere,

defendants

MUNIR AHMAD CHAUDARY,
RHONDA R. BRIDGE,
RHONDA & SON’S INC.,
and
MAC & SONS LLC,

for the purposes of executing a scheme to defraud, knowingly caused to be transmitted by means of
wire communications in interstate commerce, writings, signs, and signals for the purposes of
executing the scheme, in which the defendants transmitted, via the Internet, false and fraudulent

wage and unemployment tax and employee information to the Kansas Department of Labor

and the Missouri Division of Employment Security, as follows:

 

 

 

 

 

 

 

 

COUNT 7 On or about Oct. 31, 2011 Kansas Dept. Of Labor
COUNT 8 On or about April 30, 2012 Kansas Dept. Of Labor
COUNT 9 On or about April 30, 2010 Missouri Div. Of
Employment Security
COUNT 10 On or about April 30, 2012 Missouri Div. Of
Employment Security

 

All in violation of Title 18, United States Code, §§ 1343 and 2.
COUNT 11
18 U.S.C. § 1001(a)(2)
(False Statement to an Agent of the United States Government)
22. Paragraphs 1-21 are incorporated by reference.

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23. On or about December 22, 2011, within the District of Kansas, defendant
SYED NAQVY
knowingly, willfully and intentionally made materially false and fraudulent statements and
representations to an agent of the United States Department of Homeland Security in a matter
within the jurisdiction of that federal agency, that is, administration and enforcement of
federal immigration laws, in that he represented his full name to be “Ash Naqui” having a
date of birth of either 03/20/1983 or 3/20/1985, and that he last entered the United States on
a student visa, in violation of Title 18, United States Code, Section 1001(a)(2).
COUNT 12
8 U.S.C. § 1253(a)(1)(A)
(Failure to Depart the United States as Ordered)
24. Paragraphs 1-23 are incorporated by reference.
25. On or about August 15, 2012, within the District of Kansas and elsewhere,
defendant
SYED NAQVY
a citizen of Pakistan who is not a citizen or national of the United States, knowingly,
intentionally and willfully failed and refused to depart from the United State within 90 days
from the date of a final order of removal under administrative processes and appeal, in

violation of Title 8, United States Code, Section 1253(a)(1)(A).

CRIMINAL FORFEITURE COUNT

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26. The allegations in paragraphs 1-25 are realleged and by this reference fully
incorporated herein for the purpose of alleging forfeiture to the United States of America of
certain property in which the defendants have an interest, pursuant to the provisions of Title
8, United States Code, § 1324(b) and Title 18, United States Code, §§ 1343 and 2, and the
procedures outlined in Title 21, United States Code, § 853.

27. Upon conviction of any violation of Title 8, United States Code, § 1324(a), each
defendant shall forfeit to the United States the gross proceeds of the such violation, and any
property traceable to such proceeds, pursuant to Title 8, United States Code, § 1324(b).

28. Upon conviction of any violation of Title 8, United States Code, § 1324(a), each
defendant shall forfeit to the United States any property, real or personal, that constitutes, or
is derived from, or is traceable, to the proceeds obtained directly or indirectly from the
commission of such violation and is used to facilitate and is intended to be used to facilitate
the commission of such violation pursuant to Title 18, United States Code, § 982(a)(6).

29. The property subject to the forfeiture includes, but is not limited to, the following:

a. REAL PROPERTY

(1) all that lot or parcel of land, together with its buildings, improvements,
fixtures, attachments and easements at the following locations:
a. The hotel and other real property associated with 7020 W. 108" St.,

Overland Park, Kansas, the legal description of which is all of Tract “D,”

Metcalf “107,” a subvision in the City of Overland Park, Johnson County,

Kansas, as shown by the recorded plat thereof.

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b. The hotel and other real property associated with 11828 NW Plaza
Circle, Kansas City, Mo., the legal description of which Lot 4, Gateway Plaza,
Kansas City, Platte County, Mo., and Lot 3, Gateway Plaza First Plat, a
subdivision of land in Section 23, Township 52, Range 34, Kansas City, Platte
County, Mo., together with right of ingress and egress over and across mutual
easement for the purpose of ingress and egress and for extending utilities,
contained in Book 403, Page 18, over Lot 3 above.

b. PROCEEDS CONTAINING IN THE FOLLOWING BANK ACCOUNTS:

(1) Checking account number 1183220, Community America Credit Union,
in the names of Rhonda & Son’s Inc., Munir A. Chaudary, and Rhonda Bridge.

(2) Checking account number 1250118, Community America Credit Union,
in the names of Plaza Hotels Inc., d/b/a Clarion Hotel, Rhonda Bridge, Munir
Chaudary.

(3) Checking account number , Bank of America
c. SUBSTITUTE ASSETS
If the property described above as being subject to forfeiture, as a result of any act or

omission of any defendant,
(1) cannot be located upon the exercise of due diligence;
(2) has been transferred or sold to, or desposited with a third person;
(3) has been placed beyond the jurisdiction of the Court:
(4) has been substantially diminished in value; or

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(5) has been commingled with other property which cannot be subdivided without
difficulty;
it is the intent of the United States, pursuant to Title 21, United States Code, § 853(p), as
incorporated by Title 18, United States Code, § 982(b), to seek forfeiture of any other
property of the defendants up to the value of the above forfeitable property or to seek return
of the property to the jurisdiction of the Court so that the property may be seized and
forfeited.

All pursuant to the provisions of Title 8, United States Code, § 1324(b); Title 18,
United States Code, §§ 1343 and 2, and the procedures outlined in Title 21, United States

Code, § 853(p).

 

 

A TRUE BILL.
09/06/2012 s/ Foreman
Date Foreman of the Grand Jury

s/ Barry R. Grissom
BARRY R. GRISSOM
United States Attorney
District of Kansas

301 N. Main, Suite 1200
Wichita, KS 672020
barry.grissomi@usdoj.gov
Ks. S. Ct. No. 10866

[It is requested that jury trial be held in Wichita, Kansas. }

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS
(Kansas City, Kansas, Docket)

UNITED STATES OF AMERICA, }
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Plaintiff, }
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j

VS. } Case No. 12-200. -01-05- _
}
MUNIR AHMAD CHAUDARY, }
RHONDA R. BRIDGE, }
RHONDA & SON’S INC., }
MAC & SONS LLC, and }
SYED NAQVY, }
}
Defendants. }

PENALTIES

Count 1 — 18 U.S.C. § 371, conspiracy to harbor illegal aliens:

¢ Not more than five years in prison

¢ Not more than a $250,000 fine

¢ Not more than three years of supervised release
A $100 special crime victims fund assessment

Counts 2-6 — 8 U.S.C. § 1324(a)(1)(A), harboring illegal aliens for commercial
advantage and private financial gain:

* Not more than five years in prison

¢ Not more than a $250,000 fine

* Not more than three years of supervised release
¢ A $100 special crime victims fund assessment

Counts 7-10 — 18 U.S.C. § 1343, wire fraud:

* Not more than 20 years in prison

Not more than a $250,000 fine

Not more than three years of supervised release
A $100 special crime victims fund assessment
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Count 11 — 18 U.S.C. § 1001(a)(2), false statement to the government:

* Not more than five years in prison

* Not more than a $250,000 fine

* Not more than three years of supervised release
* A $100 special crime victims fund assessment

Count 12 —-8 U.S.C. § 1253(a)(1)(A), failure to depart the U.S. as ordered:
* Not more than four years in prison
* Not more than a $250,000 fine
¢ Not more than three years of supervised release
¢ A $100 special crime victims fund assessment

Allegation of Criminal Forfeiture

* Forfeiture of property related to allegations of criminal conduct
